  2:18-mn-02873-RMG         Date Filed 04/26/19      Entry Number 72        Page 1 of 26




                                             )
IN RE: AQUEOUS FILM-FORMING                  )   MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                     )
LITIGATION                                   )   CASE MANAGEMENT ORDER NO. 3
                                             )
                                             )   This Order Relates to All Actions.
                                             )
                                             )
                                             )


                             Applicability and Scope of Order

  1. Scope:    This Case Management Order ("CMO") is intended to conserve judicial

     resources, eliminate duplicative services by all counsel and co-counsel, eliminate

     duplicative discovery, serve the convenience of the parties and witnesses, and promote

     the just and efficient conduct of this litigation. Consistent with this Court's CMO No. 1,

     dated January 2, 2019, this Order and, unless otherwise specified, any subsequent pretrial

     orders or CMOs issued in this multidistrict litigation ("MDL"), shall govern the practice

     and procedure in those actions transferred to this Court by the Judicial Panel on

     Multidistrict Litigation ("JPML") pursuant to its order entered on December 7, 2018, and

     any tag-along actions transferred to this Court by the JPML pursuant to Rules 7.1 and 7.2

     of the Rules of Procedure of the Panel, after the filing of the final transfer order by the

     Clerk of the Court, and all related actions originally filed in this Court or transferred or

     removed to this Court and assigned thereto as part of In re: Aqueous Film-Forming

     Foams Products Liability Litigation, MDL No. 2873.         These cases, which have been

     consolidated by the Court pursuant to CMO No. 1, will be referred to as the "MDL

     proceedings." The provisions of this Order, and any subsequent pretrial order or CMO
2:18-mn-02873-RMG            Date Filed 04/26/19   Entry Number 72        Page 2 of 26




   issued in the MDL proceedings, shall supersede any inconsistent provisions of the

   Court's Local Rules. The consolidation of these cases, including certain of these cases

   that may be directly filed into this MDL, does not constitute a waiver of any party's

   rights under Lexecon v. Mi/berg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998).

   This CMO shall not be construed to affect the governing law or choice-of-law rules in

   any case subject to the CMO.

2. Application to All Parties and Counsel: This Order and all subsequent pretrial orders or

   CMOs shall be binding on all parties and their counsel in all cases currently pending, or

   subsequently transferred to, removed to, or pending in the MDL proceedings and shall

   govern each case in the MDL proceedings unless this Order explicitly states that it relates

   only to specific cases.

3. Transferor CMO Superseded: Except as otherwise provided herein, any order entered in

   a transferor court, or by this Court in any action consolidated in these MDL proceedings,

   before the action became part of the MDL proceedings, is vacated to the extent it relates

   to scheduling or discovery, and scheduling and discovery shall be governed by this and

   subsequent orders entered in this proceeding.

4. Amendment and Exceptions: This Order may be amended by the Court on its own

   motion, and any party may apply at any time to this Court for a modification or exception

   to this Order.

    Appointment of Additional Plaintiffs' and Defendants' Committee Members

5. The Court is committed to developing the future generation of diverse MDL leadership

   by providing competent candidates with opportunities for substantive participation now.




                                            2
2:18-mn-02873-RMG         Date Filed 04/26/19    Entry Number 72      Page 3 of 26




   The Court reviewed the proposed committee members' applications, submitted by Co-

   Lead Counsel for Plaintiffs and Defendants in response to CMO No. 2.

6. The Court appoints the following attorneys to the Plaintiffs' Executive Committee

   ("PEC"):

       Gregory A. Cade
       Law Offices of Environmental Litigation Group, P.C.
       2160 Highland Ave. South
       Birmingham, AL 35205

       Christina Cossich
       Cossich, Sumich, Parsiola & Taylor LLC
       893 7 Highway 23
       Belle Chasse, LA 7003 7

       Gale D. Pearson
       Pearson, Randall & Schumacher, PA
       310 South Fourth Ave., Suite 5010
       Minneapolis, MN 55415

       Carl Solomon
       Solomon Law Group, LLC
       P.O. Box 1866
       Columbia, SC 29202

7. The Court appoints the following attorneys to the Defendants' Coordination Committee:

       Jillian C. Kim
       Greenberg Traurig, LLP
       1717 Arch St., Suite 400
       Philadelphia, PA 19103

       Amanda S. Kitts
       Nelson Mullins Riley & Scarborough LLP
       1320 Main St., 17th Fl.
       Columbia, SC 29201

       Elizabeth Knauer
       Sive, Paget & Riesel P.C.
       560 Lexington Ave., 15th Fl.
       New York, NY 10022




                                          3
2:18-mn-02873-RMG          Date Filed 04/26/19      Entry Number 72      Page 4 of 26




      Liam J. Montgomery
      Williams & Connolly LLP
      725 12th St. N.W.
      Washington, DC 20005

      Lyn P. Pruitt
      Mitchell, Williams, Selig, Gates & Woodyard, P.L.L.C.
      425 W. Capitol Ave., Suite 1800
      Little Rock, AR 72201

       Daniel L. Ring
       Mayer Brown LLP
       71 S. Wacker Dr.
       Chicago, IL 60606

       J. Liat Rome
       Williams & Connolly LLP
       725 12th St. N.W.
       Washington, DC 20005

8. These appointments to committee positions are for a period of one year. Each appointee

   must apply for continued service thereafter.

9. These designations are of a personal nature.      Accordingly, the Court looks to these

   counsel to undertake personal responsibility to perform the designated functions and,

   should they become unable to do so, the Court reserves the discretion to replace counsel

   on their request or on the Court's own motion.

                            Communication with the Court

10. Unless otherwise ordered by the Court, all substantive communications with the Court

   shall be in writing with copies to Lead and Liaison Counsel for both Plaintiffs and

   Defendants. Where the communication relates to a specific case or cases, copies shall

   also be provided to primary counsel for plaintiff(s) and defendant(s) in such cases. All

   substantive communications with the Court from any plaintiff or counsel for plaintiff

   must first be sent to Plaintiffs' Co-Lead Counsel before being submitted to the Court.



                                            4
2:18-mn-02873-RMG         Date Filed 04/26/19     Entry Number 72       Page 5 of 26




                Plaintiffs' Counsels' Time and Expense Submissions

11. Reimbursement for costs and/or fees for services of all plaintiffs' counsel performing

   functions in accordance with this Order will be set at a time and in a manner established

   by the Court after due notice to all counsel and after a hearing. The following Time and

   Expense Guidelines are to be utilized by any counsel seeking fees and/or expense

   reimbursement.

12. General Guidelines

       a. All time and expenses submitted must be incurred only for work authorized by

          Plaintiffs' Co-Lead Counsel or Liaison Counsel. Such authorization should be

          memorialized in writing contemporaneous to the current time and expense

          submission.

       b. These standards and procedures are intended for all activities performed and

          expenses incurred by counsel that relate to matters common to all claimants in

          MDL 2873.

       c. Time and expense submissions must be submitted via the forms that may be

          obtained from Plaintiffs' Liaison Counsel.

       d. Plaintiffs' Liaison Counsel has retained, and the Court approves the retention of,

          Jeremy S. Betsill, CPA, of the accounting firm of Dixon Hughes Goodman LLP,

          to assist and provide accounting services to Plaintiffs' Liaison Counsel, the PEC,

          and the Court in the MDL proceedings.

      e. Dixon Hughes Goodman LLP will assist in compiling submissions and provide

          reports to Plaintiffs' Co-Lead and Liaison Counsel, who shall submit them to the

          Court every six weeks. These reports shall include both time and expenses, and



                                           5
    2:18-mn-02873-RMG          Date Filed 04/26/19      Entry Number 72    Page 6 of 26




               will summarize, with back-up detail, the submissions of all firms. Submission of

               time and expense records to Dixon Hughes Goodman LLP and the Court shall be

               considered as if filed under seal.

          f.   Time and expense submissions must be submitted timely, every six weeks, to

               Jeremy S. Betsill, CPA. at an email address to be provided, and to Plaintiffs'

               Liaison Counsel at AFFFMDLTIME@motleyrice.com.

          g. Failure to submit time and expense submissions, following a two-week grace

               period and a once-only thirty-day extension that may be granted only by Liaison

               Counsel, shall preclude further common benefit work and shall exclude that

               month's time from proper submission, absent written approval of the Co-Lead

               Counsel and/or by order of the Court.

          h. An attorney's failure to secure authority to incur common benefit time and

               expenses, or failure to maintain and timely provide such records or to provide

               sufficient description of the activity, may be grounds to deny the recovery of

               attorney's fees or expenses in whole or part.

          1.   The first time and expense submission is due on June 15, 2019 and shall include

               all time through May 3 1, 2019. Thereafter, time and expense records shall be

               submitted for the preceding month and shall be due on the third Monday of the

               following month. 1




1
  For example, a time and expense submission for June 2019 shall be due on August 19, 2019;
for August 2019 shall be due on September 16, 2019; and for September 2019 shall be due on
October 21, 2019.
                                                    6
2:18-mn-02873-RMG         Date Filed 04/26/19      Entry Number 72         Page 7 of 26




13. Time Reporting Guidelines

      a. Only time spent on matters common to all claimants in MDL 2873 will be

         considered in determining fees. No time spent on developing or processing any

         case for an individual client (claimant) will be considered or should be submitted,

         absent written approval by at least two (2) Plaintiffs' Co-Lead Counsel.

      b. All time must be accurately and contemporaneously maintained. Time shall be

         kept according to these guidelines and specifically in accordance with the

         Litigation Task Definitions (Attachment A). All counsel shall keep a daily record

         of their time spent in connection with this litigation, indicating with specificity the

         hours, location and particular activity (such as "conduct deposition of A.B.").

         Again, failure to maintain such records or insufficient description of the activity

         may result in a forfeiture of fees.

      c. All time for each firm shall be maintained in tenth-of-an-hour increments. Failure

         to do so may result in time being disallowed.

      d. All time shall be submitted with a summary report form indicating the total

         member firm time, broken down by each named time-keeper and Litigation Task

         Definition of the time spent during the preceding month, as well as the

         accumulated total of all time incurred by the firm during the reporting period.

         This summary report form may be obtained from Plaintiffs' Liaison Counsel. The

         summary report form shall be certified by a senior partner of the firm attesting to

         the accuracy and correctness of the submission.




                                               7
2:18-mn-02873-RMG           Date Filed 04/26/19    Entry Number 72       Page 8 of 26




14. Expense Reporting Guidelines

      a. Advanced costs will be deemed as either "Shared" or "Held."

              1.   Shared Costs are costs that will be paid out of a separate Plaintiffs'

                   Executive Committee MDL 2873 Fund (the "PEC MDL 2873 Fund")

                   account to be established by Plaintiffs' Liaison Counsel and to be funded

                   by all members of the PEC and others as determined by the PEC. The

                   PEC MDL 2873 Fund account will be administered by Dixon Hughes

                   Goodman LLP and Wells Fargo bank, which will make disbursements

                   upon written approval by a total of two (2) of Co-Lead Counsel and/or

                   Liaison Counsel.

             11.   Held Costs are those that will be carried by each attorney in MDL 2873, to

                   be reviewed by the Fee Committee, as discussed below, and approved at

                   the appropriate time by the Fee Committee, Special Master and/or the

                   Court.

      b. Each member of the PEC will contribute to the PEC MDL 2873 Fund at times and

         in amounts sufficient to cover the administration of the MDL. The timing and

         amount of each assessment will be determined by Co-Lead Counsel, in

         conjunction and consultation with the PEC. All such assessments may be subject

         to final accounting at an appropriate time.

      c. Shared Costs: Shared Costs are costs incurred for the common benefit of the

         MDL as a whole. No client-related costs can be considered as Shared Costs. All

         costs of a substantial nature that meet these requirements and fall under the

         following categories shall be considered Shared Costs and qualify to be submitted



                                            8
2:18-mn-02873-RMG        Date Filed 04/26/19       Entry Number 72      Page 9 of 26




        and paid directly from the MDL account. All Shared Costs must be approved by

        Plaintiffs' Liaison Counsel prior to payment.

            1.   Shared Costs include:

                    1. Court, filing and service costs;

                    2. Deposition and court reporter costs;

                    3. Document Depository: creation, operation, staffing, equipment and

                        administration;

                    4. Plaintiffs' Liaison Counsel administrative matters (e.g., expenses

                        for equipment, technology, courier services, long distance,

                        telecopier,   electronic     service,   photocopy   and   printing,

                        secretarial/temporary staff, etc.);

                    5. PEC group administration matters such as meetings and conference

                        calls;

                    6. Legal and accountant fees;

                    7. Expert witness and consultant fees and expenses;

                    8. Printing, copying, coding, scanning (out-of-house or extraordinary

                        firm cost);

                    9. Research by outside third-party vendors/consultants/attorneys;

                    10. Common witness expenses including travel;

                    11. Translation costs;

                    12. Bank or financial institution charges; and

                    13. Investigative services.




                                             9
2:18-mn-02873-RMG      Date Filed 04/26/19       Entry Number 72         Page 10 of 26




           ii. Plaintiffs' Liaison Counsel shall prepare and be responsible for

               distributing to    the   appropriate plaintiffs'    counsel    and the PEC

               reimbursement procedures and the associated forms.                Request for

               payments should include sufficient information to allow Plaintiffs' Liaison

               Counsel and the CPA to account properly for costs and to provide

               adequate detail to the Court. All requests shall be subject to review and

               approval by Plaintiffs' Liaison Counsel.

     d. Held Costs: Held Costs are costs incurred for the global benefit of MDL 2873.

        Held costs are those that do not fall into the above Shared Costs categories but are

        incurred for the benefit of all plaintiffs in general. No specific client-related costs

        can be considered as Held Costs.         Held Cost records shall be submitted to

        Plaintiffs' Liaison Counsel on a six-week interval schedule, promulgated by

        Plaintiffs' Liaison Counsel and the CPA. All costs of a substantial nature that

        meet these requirements and fall under the following categories shall be

        considered Held Costs and qualify to be submitted for consideration by the PEC

        and the Court for future reimbursement:

            i. Telefax charges;

           11. Postage, shipping, courier, certified mail;

           111. Printing and photocopying (in-house);

           1v. Computerized research, such as with Lexis/Westlaw;

            v. Telephone: long distance (actual charges only); and

           v1. Attorney travel (following the travel expense guidelines set below) for

               depositions or court matters, including:



                                          10
2:18-mn-02873-RMG       Date Filed 04/26/19       Entry Number 72         Page 11 of 26




                     1. Airfare;

                     2. Reasonable ground transportation;

                     3. Hotel;

                     4. Reasonable meals and entertainment;

                     5. Reasonable other (parking);

                     6. Car rental, cabs, etc.; and

                     7. Secretarial and clerical overtime.

     e. Travel Limitations:        Except in extraordinary circumstances approved by

        Plaintiffs' Liaison Counsel or the PEC, all travel reimbursements are subject to

        the following limitations:

            1.   Airfare: Only the lowest-priced available coach air fare at time of booking

                 (either at restricted coach rates or rates which allow the reservation to

                 rebooked without surcharge and other agency fees) for a reasonable

                 itinerary will be reimbursed. Notwithstanding the foregoing, first class

                 airfare will be allowed for cross-country flights that are in excess of four

                 hours non-stop flight time or business class for international flights.

           11.   Hotel: Hotel room charges will be reimbursed up to the greater of (a) $300

                 per night excluding taxes, or (b) the average available room rate of the

                 Hyatt, Hilton, and Marriott hotels in that city.

          111.   Meals: Meal expenses must be reasonable.

           1v. Cash Expenses: Miscellaneous cash expenses for which receipts generally

                 are not available (gratuities, luggage handling, pay telephone, etc.) will be

                 reimbursed up to $50.00 per trip if the expenses are properly itemized.



                                           11
2:18-mn-02873-RMG        Date Filed 04/26/19       Entry Number 72          Page 12 of 26




              v. Rental Automobiles: Luxury automobile rentals will not be fully

                  reimbursed, unless only luxury automobiles were available. If luxury

                  automobiles are selected when non-luxury vehicles are available, then the

                  difference between the luxury and non-luxury vehicle rates must be shown

                  on the travel reimbursement form, and only the non-luxury rate may be

                  claimed.

             v1. Mileage: Mileage claims must be documented by stating origination point,

                  destination, total actual miles for each trip, and the rate per mile paid by

                  the member's firm. The maximum allowable rate will be the maximum

                  rate allowed by the IRS (currently 58 cents per mile).

      f.   Non-Travel Limitations:

               1. Long Distance and Cellular Telephone: Long distance and cellular

                  telephone charges must be documented.           Plaintiffs' Liaison Counsel

                  and/or the CPA may request copies of the telephone bills submitted with

                  notations as to which charges relate to the litigation.

              11. Shipping, Courier, and Delivery Charges: All claimed expenses must be

                  documented with bills showing the sender, ongm of the package,

                  recipient, and destination of the package.

             111. Postage Charges: A contemporaneous postage log or other supporting

                  documentation must be maintained and submitted. Postage charges are to

                  be reported at actual cost.




                                            12
2:18-mn-02873-RMG         Date Filed 04/26/19       Entry Number 72        Page 13 of 26




              iv. Telefax Charges: Contemporaneous records should be maintained and

                  submitted showing faxes sent and received. The per-fax charge shall not

                  exceed $1.00 per page.

              v. In-House Photocopy: A contemporaneous photocopy log or other

                  supporting documentation must be maintained and submitted.                The

                  maximum copy charge is 15 cents per page.

              v1. Secretarial and Clerical Overtime: An itemized description of the task and

                  time spent must be submitted for secretarial and clerical time. All such

                  overtime must be approved before submission by Plaintiffs' Liaison

                  Counsel or the PEC.

             vu. Computerized Research: Expenses for computerized legal research, such

                  as with Lexis/Westlaw, should be in the exact amount charged to the firm

                  for these research services.

15. Procedures to be Established by Plaintiffs' Liaison Counsel:

       a. Plaintiffs' Co-Lead Counsel and Liaison Counsel have established forms and

           procedures to implement compliance with these time and expense reporting

           requirements. These forms may be obtained from Plaintiffs' Liaison Counsel.

           The form shall be certified by a senior partner at the firm, attesting to the accuracy

           and correctness of the submission.

       b. Questions regarding the guidelines or procedures should be directed to Plaintiffs'

           Liaison Counsel or Jeremy S. Betsill, CPA.




                                             13
2:18-mn-02873-RMG        Date Filed 04/26/19      Entry Number 72       Page 14 of 26




                 Common Benefit Holdback Assessment and Guidelines

16. The Court recognizes that the Plaintiffs' Co-Lead Counsel may raise funding necessary to

   prosecute the common issues on behalf of all plaintiffs in the MDL by seeking funding

   from members of the PEC to pay for certain shared common benefit costs and expenses.

   The Court also recognizes that the PEC pursuing common legal issues, discovery, and

   administration benefits all cases in the MDL, and that a reasonable holdback from

   successfully resolved cases may be appropriate to reimburse incurred common benefit

   costs expenses and to compensate attorneys and their firms for providing common benefit

   legal work.

17. The governing principles of the common benefit doctrine are derived from the United

   States Supreme Court's common benefit doctrine as established in Trustees v.

   Greenough, 105 U.S. 527 (1881); refined in, inter alia, Central Railroad & Banking Co.

   v. Pettus, 113 U.S. 116 (1884); Sprague v. Ticonic National Bank, 307 U.S. 161 (1939);

   Mills v. Electric Auto-Lite Co., 396 U.S. 375 (1970); Boeing Co. v. Van Gernert, 444 U.S.

   472 (1980); and approved and implemented in the MDL context, in inter alia, In re Air

   Crash Disaster at Florida Everglades on December 29, 1972, 549 F.2d 1006, 1019-21

   (5th Cir. 1977); In re MGM Grand Hotel Fire Litigation, 660 F. Supp. 522, 525-29 (D.

   Nev. 1987); In re Vioxx Prod. Liab. Litig., MDL No. 1657 (E.D. La. Aug. 4, 2005,

   amended May 3, 2007; Feb. 1, 2008; Sep. 15, 2008; Apr. 10, 2008; and Oct. 31, 2008); In

   re Diet Drugs (Phentermine/Fenfluramine/Dexfenfluramine) Prod. Liab. Litig., 582 F.3d

   524 (3d. Cir. 2009); In re Am. Med. Sys., Inc., Pelvic Repair Sys. Prod. Liab. Litig., MDL

   No. 12-md-02325 (S.D.W. Va. Oct. 4, 2012); In re C.R. Bard Inc., Pelvic Repair Sys.

   Prod. Liab. Litig., MDL No. 10-md-02187 (S.D.W. Va. Oct. 4, 2012); In re Boston Sci.,



                                           14
    2:18-mn-02873-RMG         Date Filed 04/26/19      Entry Number 72       Page 15 of 26




       Corp., Pelvic Repair Sys. Prod. Liab. Litig., MDL No. 12-md-0236 (S.D.W. Va. Oct. 4,

       2012); In re Coloplast Corp., Pelvic Repair Sys. Prod. Liab. Litig., MDL No. 12-md-

       02387 (S.D.W. Va. Oct. 4, 2012); In re Ethicon, Inc. Pelvic Repair Sys. Prod. Liab.

       Litig., MDL No. 12-md-02327 (S.D.W. Va. Oct. 4, 2012); In re Avandia Marketing,

       Sales Practices and Prod. Liab. Litig., MDL No. 07-md-01871 (E.D. Pa. Oct. 19, 2012);

       In re E.l DuPont De Nemours and Company C-8 Pers. Injury Litig., MDL No. 13-md-

       02433 (S.D. Ohio Aug. 5, 2013, amended Sep. 6, 2013); In re Cook Med Inc. Pelvic

       Repair Sys. Prod. Liab. Litig., MDL No. 13-md-02440 (S.D.W. Va. Oct. 28, 2013); In re

       Testosterone Replacement Therapy Prod. Liab. Litig., (N.D. Ill. Nov. 25, 2014); In re

       Lipitor (Atorvastatin Calcium) Mktg., Sales Practices and Prod. Liab. Litig., MDL No.

       14-mn-02502 (D.S.C. Jan. 22, 2015); In re Oil Spill by the Oil Rig "Deepwater Horizon"

       in the Gulf of Mexico, on April 20, 2010 MDL No. 10-md-02179 (E.D. La. Oct. 2, 2015);

       In re Neomedic, Pelvic Repair Sys. Prod. Liab. Litig., MDL No. 14-md-02511 (S.D.W.

       Va. Dec. 22, 2015); In re Invokana (Canaglifozin) Prod. Liab. Litig., MDL No. 16-md-

       02750 (D.N.J. Mar. 21, 2017); In re Benicar (Olmesartan) Prod. Liab. Litig., MDL No.

       15-md-2606 (D.N.J. Aug. 15, 2017); and In re Proton-Pump Inhibitor Prod. Liab. Litig.

       (No. II) MDL No. 17-md-02789 (D.N.J May 8, 2018).

    18. Common benefit work product includes all work performed for the benefit of all

       plaintiffs or groups/categories of plaintiffs as determined appropriate by the Court and/or

       its designees, by and through a Fee Committee2 and/or the appointment of a Special

       Master at the appropriate time. Common benefit work many include work on pre-trial

2
  At the appropriate time, a Fee Committee shall be appointed to make recommendations to this
Court and/or a Court-appointed Special Master on the issue of how any funds received in the
MDL 2873 common benefit expense fund and MDL 2873 common benefit fee fund shall be
distributed.

                                               15
    2:18-mn-02873-RMG         Date Filed 04/26/19       Entry Number 72       Page 16 of 26




       matters, discovery, trial preparation, a potential settlement process, and all other work

       that advances this litigation to conclusion.

    19. To this end, the Court shall impose a holdback assessment of 6% allotted for common

       benefit attorneys' fees and 3% allotted for reimbursement of permissible common benefit

       costs and expenses from any settlement(s) or judgment(s) paid by defendant(s).

    20. Defendants are, therefore, directed to withhold this amount from any and all amounts

       paid to plaintiffs and their counsel and to pay the assessment directly into the interest-

       bearing accounts that will be established by a future order. 3

    21. This holdback assessment may be subject to modification depending on the future course

       of litigation and is included in this CMO to put all litigants and counsel on notice of the

       holdback. 4

                                         Electronic Filing

    22. The parties are expected to follow the District of South Carolina's policies and

       procedures on Electronic Case Filing and the procedures outlined in paragraphs 4 through




3
  At the appropriate time, a future CMO will direct the creation and establishment of two
interest-bearing accounts to receive and disburse funds collected from the 3% and 6% holdback
as directed by the Fee Committee, Special Master and/or by future Court order. This future
CMO will also set forth further directives related to the two accounts, including identification of
an Administrator, duties of the Administrator, and how the funds will be placed into the two
accounts related to these funds.
4
  Attorneys who have appeared on behalf of plaintiffs for cases that are pending in MDL 2873
remain solely responsible for filings, pleadings, and responding to court-permitted discovery.
The PEC is in no way responsible for the attorney-client relationship and the duties and
responsibilities each individual attorney or law firm owe to their client(s) in prosecution of their
individual case.

                                                 16
    2:18-mn-02873-RMG           Date Filed 04/26/19      Entry Number 72        Page 17 of 26




       7 of CMO No. 1. All counsel of record are directed to take the steps necessary to be

       registered as electronic filers in the District of South Carolina. 5

    23. All documents, except for discovery documents that shall not be filed, shall be

       electronically filed in the master MDL docket and spread only to the appropriate cases, as

       explained in CMO No. 1. Electronic case filing of a document, other than an initial

       pleading, in the master docket shall be deemed to constitute proper service on all parties.

    24. Discovery and other documents not filed with the Court shall be served by electronic mail

       on the appropriate Lead and Liaison Counsel and other appropriate counsel, as set forth

       in an order to follow.

                                            Direct Filing

    25. In order to eliminate delays associated with transfer to this Court of cases filed in or

       removed to other federal district courts, any plaintiff whose case would be subject to

       transfer to these MDL proceedings may file his or her case directly in the District of

       South Carolina, in accordance with the procedures in this Order.

    26. Any complaint that is directly filed in the MDL proceedings must be a "Single-Plaintiff

       Complaint." A "Single-Plaintiff Complaint" is a complaint filed: (1) by an individual

       plaintiff; (2) by a plaintiff and family member plaintiffs; or (3) on behalf of the estate of a

       deceased individual, together with any family members and/or beneficiaries of such

       estate. Multi-plaintiff complaints, or complaints joining two or more plaintiffs other than

       as expressly provided above, may not be directly filed into the MDL proceedings without

       prior Court approval.




5
 See ECF Multidistrict Litigation Attorney Registration Form, available at
https ://www.scd. uscourts. gov/mdl-2873/forms.asp.
                                                  17
2:18-mn-02873-RMG         Date Filed 04/26/19       Entry Number 72        Page 18 of 26




27. Each complaint filed directly in the MDL proceedings must comply with the Federal

   Rules of Civil Procedure, allege the current state of residence of the plaintiff(s), and

   identify a "Home Venue," defined as the proper venue of origin where the claim(s) could

   have otherwise been brought pursuant to 28 U.S.C. § 1391.

28. No reference in this Order to actions filed originally or directly in the United States

   District Court for the District of South Carolina shall constitute a waiver of any party's

   contention that jurisdiction or venue is improper or that the action should be dismissed or

   transferred. The fact that a case was filed directly in the MDL proceedings also shall

   have no impact on the choice of law to be applied in the case.

29. At the conclusion of pretrial proceedings, should the parties agree both that a case filed

   directly in the MDL proceedings should be transferred and on the district to which it

   should be transferred, the parties shall jointly advise the Court of the district to which the

   case should be transferred at the appropriate time. Should the parties disagree as to the

   district to which a case should be transferred, nothing in this Order precludes any party

   from filing a motion to transfer pursuant to 28 U.S.C. § 1404(a) or § 1406 at the

   conclusion of pretrial proceedings.

                                   Additional Parties

30. Any motion to add a new party to a case currently in, or pending transfer into, these MDL

   proceedings (as of the date of this Order) shall be made by June 7, 2019.

31. Any motion to add a new party to a case subsequently transferred into these MDL

   proceedings shall be made within sixty (60) days of the case being transferred; however,

   the Court will consider, for good cause, newly discovered evidence as to the joinder of a

   party after sixty (60) days from transfer have elapsed.



                                             18
    2:18-mn-02873-RMG          Date Filed 04/26/19     Entry Number 72        Page 19 of 26




    32. Except as otherwise set forth herein, no party may be added to a case absent leave of

       Court or stipulation of the parties.

                                         Motions Practice

    33. Except as otherwise provided herein, all motions and briefs shall conform to Local Civil

       Rules 7.04 through 7.07 D.S.C. All counsel must comply with Local Civil Rule 7.02

       D.S.C. when filing motions. All motions on behalf of plaintiffs or the PEC must be

       signed by Plaintiffs' Co-Lead Counsel.

    34. To be heard at a regularly-scheduled status conference, a non-dispositive6 motion not

       otherwise subject to the provisions for discovery disputes, as will be set forth in a future

       order, must be submitted or filed and served at least fourteen (14) days before the status

       conference, with any response to be filed at least seven (7) days before the status

       conference. Any such motion filed and served less than fourteen (14) days before a status

       conference shall not be heard at the upcoming status conference, absent order of the

       Court.

    35. Nothing in the preceding paragraph is intended to preclude any party from raising

       discovery issues not yet the subject of a motion by including those issues in the joint

       status report, submitted in advance of a status conference pursuant to CMO No. 2, and

       discussing such issues with the Court during a regularly scheduled status conference.

    36. Briefing schedules for dispositive motions shall be established separately.




6
 For purposes of this Order, motions to exclude testimony of experts pursuant to Rule 702 of the
Federal Rules of Evidence, as interpreted by the U.S. Supreme Court in Daubert v. Merrell Dow
Pharmaceuticals, Inc., 509 U.S. 579 (1993) ("Daubert motions"), are excluded from this
provision. A separate briefing schedule will be set for Daubert motions.
                                                19
2:18-mn-02873-RMG          Date Filed 04/26/19          Entry Number 72   Page 20 of 26




                      Coordination with State Court Proceedings

37. In order to achieve the full benefits of the MDL proceedings, this Court intends to

   coordinate with state courts presiding over any related cases, and the parties will similarly

   coordinate discovery and other appropriate pretrial proceedings with any related state

   court litigations to the greatest extent possible.

38. The parties will coordinate discovery activities and avoid unnecessary duplication and

   inconsistency by, at a minimum: (a) conferring with state court attorneys in order to

   submit consistent proposed case management orders, protective orders, discovery plans,

   and discovery protocols (including as to electronic production, the form of production,

   and the number and scope of custodial searches); (b) the PEC providing access to a

   common document repository for discovery from common defendants to state court

   attorneys who agree to be bound by the protective order entered by this Court, as set forth

   in a future order, and to pay any assessments approved by this Court; (c) cross-noticing,

   by defendants, of depositions of defense witnesses and providing for participation of

   counsel in state court actions at such depositions; (d) making reasonable efforts to ensure

   that, absent agreement, no witness will have to give more than a single deposition; (e)

   timely communicating to Plaintiffs' and Defendants' Co-Lead and Liaison Counsel

   regarding relevant developments in, and opportunities for coordinating with, any related

   state court proceedings; and (f) keeping the Court informed of such activities through

   regular joint status reports.

39. The Court retains the power to enforce these coordination and cooperation requirements,

   including through protective orders precluding or narrowing duplicative discovery.




                                              20
     2:18-mn-02873-RMG            Date Filed 04/26/19        Entry Number 72       Page 21 of 26




                                              Preservation

      40. All parties and their counsel are reminded of their duty, consistent with the Federal Rules

         of Civil Procedure, to take reasonable measures to preserve documents, electronically

         stored information, and information and items that are potentially relevant.

                                 Status Conference on May 17, 2019

      41. The next status conference in this matter will be held on May 17, 2019 at 9:00 A.M.

      42. Plaintiffs' Co-Lead Counsel and Defendants' Co-Lead Counsel must confer and submit a

         joint status report five (5) business days before the status conference, as noted in CMO

         No. 2. 7

                                        Notice in Future Cases

      43. In any action that is (a) filed in or transferred to this Court after this Order is entered and

         (b) consolidated with this action for pretrial purposes, the Clerk shall include a statement

          in the initial notice to counsel that Case Management Orders No. 1, No. 2 and this Order

          govern all cases in the MDL proceedings and can be viewed on the Court's MDL

          website.

          AND IT IS SO ORDERED.




                                                                             gel
                                                                           strict Court Judge
ApriR..~, 2019
Charleston, South Carolina




7
    The joint status report should be submitted via email.
                                                    21
2:18-mn-02873-RMG   Date Filed 04/26/19   Entry Number 72   Page 22 of 26




                     Attachment A
   2:18-mn-02873-RMG           Date Filed 04/26/19      Entry Number 72       Page 23 of 26



                                                                            Attachment "A"

                                Litigation Task Code Definitions

The Litigation Code Set is intended for use in all adversarial matters including litigation, binding
arbitrations, and regulatory/administrative proceedings. The following definitions elaborate on the
intended scope of each phase and task and should guide attorneys in coding time.

Case Assessment. Development and Admiqtration
Focuses on the case as a whole, the "forest" rather than the "trees".

Fact Investlption/Development. All actions to investigate and understand the facts of a matter.
Covers interviews of client personnel and potential witnesses, review ofdocuments to learn the facts
of the case (but not for document production), work with an investigator, and all related
communications and correspondence.

Analysis/Strategy. The thinking. strategizing, and planning for a case, including discussions,
writing, and meetings on case strategy. Also includes initial legal research for case assessment
purposes and legal research for developing a basic case strategy. Most legal research will be under
the primary task for which the research is conducted. Once concrete trial preparation begins, use
"Other Trial Preparation and Support."

Experts/Consultants. Identifying and interviewing experts and consultants (testifying or
non•testifying), working with them, and developing expert reports. Does not include preparing for
expert depositions, see "Expert Discovery" or time spent with experts/consultants during trial
preparation and trial, see "Expert Witnesses."

Document/FIie Management. A narrowly defined task that comprises only the processes of creating
and populating document and other databases or filing systems. Includes the planning, design, and
overall management of this process. Work of outside vendors in building litigation support databases
should be an Expense.

 Budgeting. Covers developing, negotiating, and revising the budget for a matter.

 Settlement/Non-Binding ADR All activities directed specifically to settlement. Encompasses
 planning for and participating in settlement discussions, conferences, and hearings and implementing
 a settlement. Covers pursuing and participating in mediation and other non-binding Alternative
 Dispute Resolution (ADR) procedures. Also includes pre-litigation demand letters and ensuing
 discussions.

 CLE. Continuing Legal Education related specifically to this matter.


                                                                                         Page 1 of 4
   2:18-mn-02873-RMG           Date Filed 04/26/19       Entry Number 72         Page 24 of 26



Other Case Assessment, Development and Administration. Time not attributable to any other
overall task. Specific use in a given matter often may be pre-determined jointly by the client and law
firm.

Pre-Trial Pleadina and Motions
Covers all pleadings and all pretrial motions and procedures other than discovery.

Pleadings. Developing (researching, drafting, editing, filing) and reviewing complaints, answers,
counter-claims and third party complaints. Also embraces motions directed at pleadings such as
motions to dismiss, motions to strike, and jurisdictional motions.

Preliminary Injunctions/Provisional Remedies. Developing and discussing strategy for these
remedies, preparing motions, affidavits and briefs, reviewing opponent's papers, preparing for and
attending court hearing, preparing witnesses for the hearing, and effectuating the remedy.

Court Mandated Conferences. Preparing for and attending hearings and conferences required by
court order or procedural rules (including Rule 16 sessions) other than settlement conferences.
Dispositive Motions. Developing and discussing strategy for or opposing motions for judgment on
the pleadings and motions for complete or partial summary judgment, preparing papers, reviewing
opponent's papers, defensive motions {e.g., motion to strike affidavit testimony, Rule S6{t) motion),
and preparing for and attending the hearing.

Other Written Motions/Submissions. Developing, responding to, and arguing all motions other
than dispositive motions, pleadings, and discovery, such as motions to consolidate, to bifurcate, to
remand, to stay, to compel arbitration, for MDL treatment and for change of venue.

Class Action Certification and Notice. Proceedings unique to class action litigation and derivative
suits such as class certification and notice.

 Discovery
 Includes all work pertaining to discovery according to court or agency rules.

 Written Discovery. Developing, responding to, objecting to, and negotiating interrogatories and
 requests to admit. Includes mandatory meet-and-confer sessions. Also covers mandatory written
 disclosures as under Rule 26(a).

 Document Production. Developing, responding to, objecting to, and negotiating document requests,
 including the mandatory meet-and-confer sessions to resolve objections. Includes identifying
 documents for production, reviewing documents for privilege, effecting production, and preparing
 requested privilege lists. (While a general review of documents produced by other parties falls under
 this task, coding and entering produced documents into a data base is "Document/File Management"


                                                                                           Page2of 4
   2:18-mn-02873-RMG           Date Filed 04/26/19       Entry Number 72        Page 25 of 26



and reviewing documents primarily to understand the facts is "Fact Investigation/Development."

Depositions. All work concerning depositions, including determining the deponents and the timing
and sequence of depositions, preparing deposition notices and subpoenas, communicating with
opposing or other party's counsel on scheduling and logistics, planning for and preparing to take the
depositions, discussing deposition strategy, preparing witnesses, reviewing documents for deposition
preparation, attending depositions, and drafting any deposition summaries.

Expert Discovery. Same as "Depositions," but for expert witnesses.

Discovery Motions. Developing, responding to, and arguing all motions that arise out of the
discovery process. Includes the protective order process.

Other Discovery. Less frequently used forms of discovery, such as medical examinations and
on-site inspections.

Trial Preparation and Trial
Commences when lawyer and client determine that trial is sufficiently likely and imminent so that
the process of actually preparing for trial begins. It continues through the trial and post-trial
proceedings in the trial court. Once trial begins, lawyers who appear in court presumptively should
bill their court time to ''Trial and Hearing Attendance." Litigation work outside the courtroom during
this phase (e.g., evenings, weekends and the time of other attorneys and support personnel), should
continue to be classified using "Other Trial Preparation and Support."

Fact Witnesses. Preparing for examination and cross-examination of non-expert witnesses.

Expert Witnesses. Preparing for examination and cross-examination of expert witnesses.

 Written Motions/Submissions. Developing, responding to and arguing written motions during
 preparation for trial and trial, such as motions in limine and motions to strike proposed evidence.
 Also includes developing other written pre-trial and trial filings, such as jury instructions, witness
 lists, proposed findings of fact and conclusions oflaw, and trial briefs.

 Other Trial Preparation and Support. All other time spent in preparing for and supporting a trial,
 including developing overall trial strategy, preparing opening and closing arguments, establishing
 an off-site support office, identifying documents for use at trial, preparing demonstrative materials,
 etc.

 Trial and Hearing Attendance. Appearing at trial, at hearings and at court-mandated conferences,
 including the pre-trial conferences to prepare for trial. For scheduling conferences that are
 denominated as "Pre-Trial Conferences", but not directed toward conduct of the trial, use "Court
 Mandated Conferences."

                                                                                           Page3 of 4
 2:18-mn-02873-RMG             Date Filed 04/26/19        Entry Number 72          Page 26 of 26




Post-Trial Motions and Submissions, Developing, responding to and arguing all post-verdict
matters in the trial court, such as motions for new trial or j.n.o.v., for stay pending appeal, bills of
costs, and requests for attorney's fees.

Enforcement. All work performed in enforcing and collecting judgments and asserting or.
addressing defenses thereto.

Appeal

Covers all work on appeal or before a reviewing body.

Appellate Motions and Submissions, Developing, responding to and arguing motions and other
filings before a reviewing body, such as motions and other filings for stay pending appeal.

Appellate Briefs, Preparing and reviewing appellate briefs.

Oral Argument. Preparing for and arguing an appeal before a reviewing body.




                                                                                            Page4 of 4
